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                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
      v.                                        )
                                                )
AZIZ IHAB SAYYED                                )

                                  INFORMATION

The United States Attorney charges:

             INTRODUCTION AND GENERAL ALLEGATIONS

                      The Islamic State of Iraq and Al-Sham

      1.     At all relevant times, there existed a foreign terrorist organization

known as, among other names, the Islamic State of Iraq and al-Sham (“ISIS”).

ISIS’s publicly stated purpose is the establishment of an Islamic state or caliphate

based in the Middle East and Africa that encompasses all Muslims worldwide.

      2.     ISIS has pursued the objective of an Islamic state through, among

other things, indiscriminate killing and deliberate targeting of civilians, mass

executions and extrajudicial killings, persecution of individuals and communities

on the basis of their religion, nationality, or ethnicity, kidnapping of civilians,

forced displacement of Shia communities and minority groups, killing and

maiming of children, rape, and other forms of sexual violence. ISIS has recruited

thousands of foreign fighters from across the globe to assist with its efforts to

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expand its so-called caliphate in Iraq, Syria, and other locations in Africa and the

Middle East, and has leveraged technology to spread its violent extremist ideology

and for incitement to commit terrorist acts.

       3.    On or about October 15, 2004, the United States Secretary of State

designated al- Qaeda in Iraq (AQI), then known as Jam ‘at al Tawid wa’ al-Jahid,

as a Foreign Terrorist Organization (FTO) under Section 219 of the Immigration

and Nationality Act and as a Specially Designated Global Terrorist entity under

section 1(b) of Executive order 13224.

       4.    On or about May 15, 2014, the Secretary of State amended the

designation of AQI as an FTO under Section 219 of the Immigration and

Nationality Act and as a Specially Designated Global Terrorist entity under section

1(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant

(ISIL) as its primary name. The Secretary of State also added the following aliases

to the FTO listing: The Islamic State of Iraq and al-Sham (“ISIS” – which is how

the FTO will be referenced herein), The Islamic State of Iraq and Syria, ad-Dawla

al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furquan

Establishment for Media Production.

       5.    On September 21, 2015, the Secretary added the following aliases to

the FTO listing: Islamic State, ISIL, and ISIS. To date, ISIS remains a designated

FTO.

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      6.     ISIS members and associates solicit, organize, and carry out acts of

violence, intimidation, and threats, including murders, suicide bombings, and

kidnappings, and solicit and cause others to do so, with the intent to establish a

global Islamic state.

      7.     On or about September 21, 2014, then-ISIL spokesperson Abu

Muhammad al-Adnani called for attacks against citizens - civilian or military - of

the countries participating in the United States-led coalition against ISIS.

      8.     ISIS has and continues to recruit individuals throughout the world,

including individuals from the United States and other western countries, to engage

in acts of terrorism. As part of its recruiting efforts, ISIS has used the internet and

various social media platforms to publicize its military and terrorist activities. In

its effort to draw in potential recruits, ISIS has published video recordings and

photographs of its forces in action, articles designed to justify its fight to establish

the caliphate, and issued other materials to encourage others to join its ranks.

      9.     Based on open source information, ISIS has murdered by beheading

civilians/non-combatants from the United States, Great Britain, France, and Japan,

among others, and has reportedly murdered dozens of people at a time, carried out

public executions, and committed other brutal and terrorist acts. ISIS has created

and published video recordings of these activities as part of their recruitment

efforts, designed to encourage individuals to commit terrorist acts themselves.

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                      Overview of the Defendant’s Conduct

      1.     Between in and around January, 2017, and June 15, 2017, as part of

the defendant AZIZ IHAB SAYYED’s attempt to provide personnel and services

to ISIS:

             A.    Defendant AZIZ IHAB SAYYED (SAYYED) obtained and

viewed ISIS propaganda videos of the type described in paragraphs 8 and 9 of this

Information. These videos depicted ISIS forces committing bombings, executions

by gunshot, beheadings, and other violent acts. SAYYED shared the videos with

others, narrating the video contents.

             B.    SAYYED expressed his support for ISIS. Among other things,

SAYYED stated that ISIS was “on the right path,” he displayed an ISIS flag, he

possessed and shared ISIS videos, and he expressed support for ISIS attacks, which

had occurred around the world.

             C.    SAYYED learned how to make an explosive called triacetone

triperoxide (“TATP”), an extremely dangerous and highly volatile material, which

is made by combining sulfuric acid, hydrogen peroxide, and acetone.

             D.    SAYYED acquired sulfuric acid, hydrogen peroxide, and

acetone from stores in the Huntsville, Alabama area.

             E.    SAYYED expressed his desire to conduct attacks on police

stations with TATP.

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             F.     On or about June 13, 2017, SAYYED met with a person he

understood to be an ISIS member. During this meeting, SAYYED and the other

person discussed, among other things, the danger of TATP, ISIS’s preference for

the use of certain explosives, and SAYYED’s desire to assist ISIS. During this

meeting, SAYYED offered himself as personnel to the person he understood to be

a member of ISIS.

                                  Count One
             Attempting to Provide Material Support or Resources
                to a Designated Foreign Terrorist Organization
                              18 U.S.C. § 2339B

      1.     Beginning on a date unknown, but no later than on or about January 1,

2017, and continuing until on or about June 15, 2017, in Madison County, within

the Northern District of Alabama and elsewhere, the defendant,

                              AZIZ IHAB SAYYED,

knowingly attempted to provide material support or resources, including services

and personnel, to a foreign terrorist organization, namely ISIS, knowing that ISIS

was a designated foreign terrorist organization and that ISIS engages in and has

engaged in terrorist activity and terrorism, in violation of 18 U.S.C. § 2339B.

                                 JAY E. TOWN
                              United States Attorney

      /s/ Electronic Signature                /s/ Electronic Signature
      HENRY CORNELIUS                         DAVIS A. BARLOW
      Assistant United States Attorney        Assistant United States Attorney

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